
83 So.3d 1013 (2012)
N.M., the mother, Petitioner,
v.
The DEPARTMENT OF CHILDREN AND FAMILIES, Respondent.
No. 3D12-373.
District Court of Appeal of Florida, Third District.
April 2, 2012.
Ilene Herscher, Coral Gables, for petitioner.
Karla Perkins, Appellate Counsel for the Department of Children and Families; Hillary Kambour, Appellate Counsel for the Guardian ad Litem Program.
Before RAMIREZ and EMAS, JJ., and SCHWARTZ, Senior Judge.

ON CONFESSION OF ERROR
EMAS, J.
On confession of error by the Department of Children and Families, and our independent review, we agree that the Department failed to establish that continued visitation with the mother, N.M., would endanger the minor child. The petition for writ of certiorari is granted and this court quashes the lower court's no-contact order dated January 26, 2012, and remands for the lower court to enter an appropriate visitation order.
